Case 1:09-cv-20386-UU Document 38 Entered on FLSD Docket 04/02/2010 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 09-20386-CIV-UNGARO/SIM ONTON

 TRACFONE W IRELESS,INC.,
 aDel
    awareCorporati
                 on,

          Pl
           ainti
               ff,

 v.

 BLUE OCEAN’S DISTRIBUTING,LLC,an
 Idaholimit
          edli
             abi
               litycompanyd/b/aBLUE
 OCEAN’S DISTRIBUTORS;M IDW AY
 DISTRIBUTOR,LLC,anIdahol     i
                              mi ted
 li
  abil
     itycompanyd/b/aM IDW AY
 DISTRIBUTING;PETER BABICH a/k/a
 PIOTR BABICHENKO i   ndividually;TIM
 BABICHENKO,i  ndi vi
                    dually;PAVEL
 “PAUL”BABICHENKO,i     ndividually;
 NATALIE BABICHENKO,i     ndividually;
 JOHN DOES 1-50;and XYZ COM PANIES
 1-50,

          Defendant
                  s.                      /

                     JOINT M OTION TO DISM ISS W ITHOUT PREJUDICE

          Pl
           ainti
               ff, TRACFONE W IRELESS, INC. (“TracFone”), and BLUE OCEAN’S

 DISTRIBUTING, LLC, an Idaho l
                             imi
                               ted l
                                   iabi
                                      lity company d/b/a BLUE OCEAN’S

 DISTRIBUTORS,M IDW AY DISTRIBUTOR,LLC,an Idaho l
                                                imi
                                                  ted l
                                                      iabi
                                                         lity company d/b/a

 M IDW AY DISTRIBUTING,PETER BABICH a/k/aPIOTR BABICHENKO,i
                                                          ndi
                                                            vidual
                                                                 ly,TIM

 BABICHENKO,i
            ndi
              vidual
                   ly,PAVEL “PAUL” BABICHENKO,i
                                              ndi
                                                vidual
                                                     ly,and NATALIE

 BABICHENKO,i
            ndi
              vidual
                   ly (“Defendant
                                s”),through thei
                                               rundersigned counsel,hereby notify

 theCourtthattheyhaveresol
                         vedt
                            hei
                              rdi
                                sput
                                   einarbi
                                         trat
                                            ion,andj
                                                   ointl
                                                       yrequestt
                                                               hatthecasebe

 wi
  thoutprej
          udice,wi
                 th each party to beari
                                      ts own fees and costs,and thatthe Courtretain

 j
 uri
   sdi
     cti
       ont
         oenforcet
                 het
                   ermsoft
                         hepart
                              ies’set
                                    tlement
                                          .




 16032213.9
Case 1:09-cv-20386-UU Document 38 Entered on FLSD Docket 04/02/2010 Page 2 of 2




 Respectfully submitted, this 2nd day of April, 2010.

   GRAY ROBINSON, P.A.                                   CARLTON FIELDS, P.A.

    By: s/ Kevi
              nP.Crosby                                  By: s/ James B.Bal dinger
       Kevin P. Crosby (FL Bar #654360)                     Steven J. Brodie (FL Bar #333069)
       Evan D. Appell (FL Bar #58146)                       Aaron S. Weiss (FL Bar #48813)
       401 East Las Olas Boulevard                          100 Southeast Second Street, Suite 4000
       Suite No. 1850                                       Miami, Florida 33131-9101
       Fort Lauderdale, Florida 33301                       Telephone No. (305) 530-0050
       Telephone No. (954) 761-8111                         Facsimile No. (305) 530-0055
       Facsimile No. (954) 761-8112                         Email:sbrodie@ carltonfields.com
       Email:kevin.crosby@ gray-robinson.com                Email:aweiss@ carltonfields.com
       Email:eappell@ gray-robinson.com
                                                              James B. Baldinger (FL Bar #869899)
          At
           torneys f
                   orDef
                       endant
                            s                                 525 Okeechobee Boulevard, Suite 1200
                                                              West Palm Beach, FL 33401-6350
                                                              Telephone No. (561) 650-8026
                                                              Facsimile No. (561) 659-7368
                                                              Email: jbaldinger@ carltonfields.com

                                                              At
                                                               torneys f
                                                                       orTracFoneWi
                                                                                  rel
                                                                                    ess,Inc.

                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

 electronic and U.S. Mail on this 2nd day of April, 2010 to: Kevin Crosby, Esquire,

 kevin.crosby@ gray-robinson.com, Gray Robinson, P.A., 401 East Las Olas Boulevard, Suite No.

 1850, Fort Lauderdale, Florida 33301.

                                                     By:s/ James B.Bal
                                                                     dinger
                                                        Attorney




 16032213.9                                      2
